
81 So. 3d 593 (2012)
Quinta Kante WRIGHT, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D12-192.
District Court of Appeal of Florida, Fifth District.
March 2, 2012.
Robert Wesley, Public Defender, Orlando and Kimberly A. Andre, Assistant Public Defender, Orlando for Petitioner.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number CF-11-5568-O, in the Circuit Court in and for Orange *594 County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
ORFINGER, C.J., GRIFFIN and PALMER, JJ., concur.
